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                             State Election Board
                                 October 11, 2022




Honorable Amy Totenberg
2388 Richard B. Russell Federal Building
  and United States Courthouse
75 Ted Turner Drive, SW
Atlanta, Georgia 30303-3309

Dear Judge Totenberg:

       I am writing in my capacity as the Chair of the State Election Board. On
September 28, 2022, the Board met to present to the public information about the
Board’s authority, the conduct of elections in Georgia, the Dominion Suite 5.0
system, and Risk Limiting Audits that will be performed for the November
elections. A motion was made at the meeting to request the Court to make the
Halderman and Mitre reports filed in Curling v. Raffensberg available to the
public. These reports currently are under seal. The unanimous vote of the Board to
request these reports be unsealed is based on our desire to provide information to
the public so they may evaluate these two analyses of the Dominion Suites voting
system. We understand that portions of the reports may contain information that, in
your judgment, should continue to be sealed. The motion passed at the meeting
specifically recognizes the Court’s discretion and authority to seal.

      If you have any questions about the motion or this letter, I am available at
your convenience to discuss the motion further.



     102 Martin Luther King, Jr. Drive SE, Suite 502, West Tower, Atlanta, Georgia 30334
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                              Sincerely,



                              William S. Duffey, Jr.
                              Chair, State Election Board

cc: Member of the State Elections Board
